                                                             Case 1:21-cr-00035-RC Document 102-19 Filed 08/23/21 Page 1 of 1
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              Crime


              Indiana man who bailed out on state charges
              with help from Portland Freedom Fund faces
                                                          Case No. 1:21-
              federal explosives charges
              Updated Jun 01, 2021; Posted Jun 01, 2021
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                  Malik Muhammad, 24, appeared in U.S. District Court in Portland Tuesday
                  afternoon on allegations of civil disorder, carrying and using an explosive to                                CHECK PAYMENT ONLINE
                  commit a felony and possessing a firearm that’s not registered to
                  him. Portland Police Bureau

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                  By Maxine Bernstein | The Oregonian/OregonLive


                  An Indiana man accused of traveling to Portland last year to                                                Recommended for You
                  engage in violence and vandalism during protests, including the
                  throwing of an explosive device towards police and smashing of
                                                                                                                                                     Once A Crowded
                  windows at the Oregon Historical Society, faced federal                                                                            Airport, Now A Refugee
                                                                                                                                                     Camp
                  charges in court Tuesday afternoon.                                                                                                Comedy


                  Malik Fard Muhammad, 24, was arrested and taken into
                  custody on a U.S. Marshals hold Friday afternoon after he had                                                                      Philadelphia 76ers
                                                                                                                                                     goal is to acquire
                  been released from state custody last Wednesday when the                                                                           Blazers’ Damian
                                                                                                                                                     Lillard, per report
                  Portland Freedom Fund posted 10%, or $212,500, of his state-                                                                       OregonLive.com
                  ordered $ 2.1 million bail in a Multnomah County case
                  stemming from the same alleged crimes, according to court                                                                          Roofers Tested 17
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                  and jail records.                                                                                                                  What They Discovered
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                  He appeared in U.S. District Court in Portland on allegations of                                                                   emergency alert test
                                                                                                                                                     this week
                  civil disorder through obstruction of law enforcement, carrying
                                                                                                                                                     OregonLive.com
                  and using explosive materials to commit a federal felony, and
                  possessing a firearm that’s not registered to him. Muhammad                                                 Promoted Links by Taboola

                  remains in custody. A detention hearing was set over until                                                                    Advertisement

                  Wednesday afternoon.

                  “Muhammad repeatedly and intentionally jeopardized the lives
                  of law enforcement officers, destroyed public property, and
                  encouraged others to commit violence,” Assistant U.S. Attorney
                  Adam E. Delph argued in a court filing.

                  In Multnomah County Circuit Court, a 28-count indictment was
                  returned against Muhammad on March 22. The indictment
                  includes two counts of attempted aggravated murder, two
                  counts of attempted first-degree murder, four counts of riot,
                  two counts of unlawful manufacture of an explosive device,
                  unlawful possession of a firearm and possession of a loaded
                  firearm in public.

                  Multnomah County Senior Deputy District Attorney Nathan
                  Vasquez alleges that Muhammad traveled to Portland “for the
                  specific purpose of engaging” in alleged property destruction
                  and violence during Portland mass protests last fall and then
                  returning to Indiana. He was arrested in Indiana in April on a
                  Multnomah County arrest warrant, accused of four different
                  alleged criminal incidents in Portland.

                  A federal complaint unsealed Tuesday says Muhammad first
                  traveled to Portland from Indianapolis around the end of July,
                  and then went to Louisville, Kentucky in mid-August with at
                  least five others to do firearms and tactical training to support
                  their “Anti-Government/Anti-Authority Violent Extremist”
                  ideology, before returning to Portland by late August.

                  On Sept. 5, he’s accused of handing out baseball bats to
                  protesters at a large demonstration in East Portland, and
                  bragging about it on social media, according to Portland
                  Detective Meredith Hopper. A discarded bat recovered from
                  police at the scene still had a price tag on it from a Goodwill
                  store. The detective tracked the purchase of the bat and found
                  video surveillance that showed Muhammad and a woman
                  buying multiple bats the day before, Vasquez wrote in a court
                  memo filed Friday in county court.

                  On Sept. 21, Muhammad is accused of throwing an incendiary
                  device, which did not explode, at police officers outside the
                  Penumbra Kelly Building, a Southeast Portland building that
                  houses some Portland Police and Multnomah County Sheriff’s
                  Office operations.

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                                         5
                                               MEMORY




                  Portland Officer Chris Burley, who was parked in the building’s
                  lot, saw a burning object flying towards his vehicle, according
                  to Vasquez. Burley stepped out of a police vehicle and found a
                  large yellow bottle similar to a beer growler that had a burnt
                  rag stuffed in the mouth of the bottle with a large amount of
                  flammable liquid, according to a court memo. FBI agents
                  wearing plainclothes who were in the crowd gave police a
                  description of the man who threw the bottle, according to
                  Vasquez. The bottle also had a price tag on it from a Goodwill
                  store, and Muhammed’s Sept. 4 purchase at the store included
                  two yellow beer growler bottles, Vasquez’s memo said.

                  The Molotov cocktail landed on the upper parking lot of the
                  Penumbra Kelly property, approximately 10 to 15 feet away
                  from multiple law enforcement officers stationed in a sound
                  truck, according to the federal complaint.

                  The bottle had been purchased at a Goodwill store in
                  McMinnville - one of 14 growlers or bottles Muhammad and his
                  girlfriend bought in early September during their store visit,
                  according to federal authorities.

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                                         5. BEST VITAMINS FOR MEMORY                  ›



                  A lab test of the brown cloth wick stuffed into the neck of the
                  bottle revealed a mixture of DNA profiles from both
                  Muhammad and his girlfriend, the federal complaint alleges.

                  In connection with a Sept. 23 incident, he’s accused of
                  throwing a Molotov cocktail that landed in front of a line of
                  officers near the downtown Justice Center. The bottle
                  shattered, creating a large flame that scorched the uniform and
                  lower leg of Portland police Officer Dustin Barth near the
                  intersection of Southwest Second Avenue and Main Street,
                  according to Vasquez. Fragments of the flaming bottle thrown,
                  which exploded into a large fireball when it struck the ground,
                  appeared to be similar to the beer growler thrown two days
                  earlier.




                  Federal authorities and Portland police identified Malik F. Muhammad, 24, as
                  the man who threw a Molotov Cocktail at officers outside the downtown
                  Justice Center on Sept. 23, 2020.

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                  Muhammad also is accused of using a metal baton to smash
                  out windows of the Oregon Historical Society, Portland State
                  University and other businesses on Oct. 11. FBI agents who
                  were in the crowd say they saw Muhammed dressed all in black
                  wearing distinctive red and gray gloves. Muhammad first ran
                  from officers who moved in to arrest him but was arrested,
                  after attempting to hide behind some barrels, police said. They
                  found a magazine of ammunition in his pocket and a discarded,
                  loaded pistol behind the barrels -- in total, 30 rounds of 9mm
                  ammunition, according to Vasquez’s memo.

                  Portland police obtained three search warrants for
                  Muhammad’s backpack, Ford F-250 pickup truck and a parked
                  RV trailer he had been staying in, the federal complaint says.

                  In the RV trailer, officers recovered multiple guns, including an
                  AR-15 rifle and a shotgun, according to the state court memo. A
                  detective who spoke to the rifle’s owner in Indianapolis said he
                  had met Muhammad before he traveled to Portland and
                  claimed he was trying to recruit people to engage in an “armed
                  takeover of a radio or television station,” and described him as
                  a “communist revolutionary who was attempting to gather
                  people with firearms to engage in acts of violence.”

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                  Police found five containers holding suspected fuel inside the
                  pickup truck. Tests confirmed they contained ignitable liquids,
                  including gasoline, ethanol, heavy petroleum distillates and
                  fatty acid methyl esters, according to the federal complaint.

                  Vasquez argued in a Friday memo filed in county court that
                  Muhammad not be released and no bail be set, considering the
                  multiple felony allegations he faces.

                  “As he has shown time and time again, he will go to extreme
                  lengths to exert his extreme ideology, up to and including
                  building fire bombs and attempting to murder police officers,”
                  Vasquez wrote.




                  Authorities identified Malik F. Muhammad partly by the yellow-colored, canvas-
                  type bag he wore during the Sept. 23, 2020 demonstration outside the Justice
                  Center, according to a federal complaint.

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                  Yet Vasquez’s memo was signed two days after Muhammad
                  was bailed out of the Multnomah County Detention Center.
                  Muhammed was released from jail last Wednesday after 10% of
                  his $2.1 million bail was posted by the Portland Freedom Fund,
                  which is a nonprofit that provides “resources to people
                  incarcerated while awaiting trial,” according to its business
                  registration with Oregon’s secretary of state’s office.

                  The $212,500 provided to bail Muhammad out of jail was the
                  largest donation that the Portland Freedom Fund made in a
                  single case to get someone out of custody pending trial,
                  according to its president Amanda Trujillo. It was substantially
                  higher than the prior largest donation of $35,000, she said. The
                  fund has posted bail for just under 100 people since the
                  beginning of 2020, she said.

                  “We were fortunate to have just received a large grant,” Trujillo
                  said. “Community members who have been supporting Malik
                  and his partner reached out to us several weeks ago to assist.
                  Malik is facing serious charges and it is difficult to prepare a
                  defense from a jail cell.”

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                                               MEMORY




                  The fund’s website describes it as a “volunteer-run abolitionist
                  organization” that is dedicated to “reducing harms
                  perpetuated against our Black, Brown and Indigenous
                  neighbors by the criminal justice system through posting bail
                  so they may navigate their case from a position of freedom.”
                  The fund is supported through donations and grant support,
                  and its fiscal sponsor is Northwest Alliance for Alternative
                  Media and Education, according to its president.

                  Trujillo, based in Milwaukie, said by email, that the fund has an
                  estimated $600,000 “wrapped up with the state right now.”
                  Once cases are completed, the bail is usually returned, minus
                  about 15 % taken by the state as well as any other fees or fines
                  owed by the defendant. Due to the slow down in the court
                  system as a result of the pandemic, “cases have not been going
                  to trial, so we are not seeing any money coming back,” she said.

                  Muhammad was released from custody last Wednesday on a
                  condition he report to the county’s Close Street Supervision
                  office within 24 hours and he had complied, she said. He
                  returned the next day, last Thursday, to be placed on GPS
                  monitoring, Trujillo said. “It wasn’t until the next day federal
                  agents again showed up at Malik’s door to arrest him, despite
                  the fact he had not violated any conditions of his release,” she
                  said.

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                                               MEMORY




                  Vasquez’s memo on Friday seeking no bail for Muhammad is
                  disappointing, considering Multnomah County District
                  Attorney Mike Schmidt’s “campaign promise to end cash bail,”
                  Trujillo said.

                  Muhammad was rearrested about 2:30 p.m. on Friday in
                  Milwaukie and taken back to a Portland jail on a federal hold,
                  according to jail records. Federal prosecutors are seeking his
                  continued detention. The charge of carrying and using an
                  explosive to obstruct law enforcement would bring a minimum
                  mandatory sentence of 10 years if convicted.

                  -- Maxine Bernstein

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